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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                                CRIMINAL ACTION

VERSUS                                                                  No. 15-61

LISA CRINEL, ET AL.                                                     SECTION “E” (2)


                                   ORDER AND REASONS

        Before the Court is a motion for severance pursuant to Federal Rules of Criminal

Procedure 8(b) and 14(a) and to strike Paragraph 38 from the Superseding Indictment

pursuant to Rule 7.1 The motion was filed by Defendant, Paula Jones. The Government

opposes the motion. For the reasons that follow, the motion is DENIED.

                                         BACKGROUND

        This is a criminal action charging Abide Home Care Services, Inc. (“Abide”), and a

number of its associates, including Paula Jones, with a scheme to defraud Medicare and

other federal crimes.2 Specifically, on March 12, 2015, a federal grand jury returned an

Indictment charging Abide and certain other Defendants3 with (1) conspiracy to commit

health care fraud, in violation of Title 18, United States Code, Section 1349; (2) conspiracy

to pay and receive illegal health care kickbacks, in violation of Title 18, United States Code,

Section 371; (3) several counts of health care fraud, in violation of Title 18, United States

Code, Sections 1347 and 2; and (4) conspiracy to commit wire fraud, in violation of Title

18, United States Code, Sections 1343 and 2.


1 R. Doc. 551.
2 According to the Indictment, Abide’s full name is “PCAH, Inc. a/k/a Priority Care at Home d/b/a Abide

Home Care Services, Inc.”
3 Named as Defendants in the initial Indictment were Lisa Crinel, Wilneisha Harrison Jakes, Henry Evans,

Threasa Adderley, Michael Jones, Paula Jones, Shelton Barnes, Jonathon Nora, Cary Payton, Evelyn
Odoms, Sheila Mathieu, Suprenia Washington, Erica Edwards, Zellisha Dejean, Caren Battaglia, Sheila
Hopkins, Eleshia Wiliams, Verinese Sutton, Clara Aitch, and Wendy Ervin. R. Doc. 1.

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        A Superseding Indictment was returned by the grand jury on April 21, 2016.4 Prior

thereto, a number of Defendants pleaded guilty to crimes charged in the March 12, 2015

Indictment.5 It is sufficient to note, for present purposes, that the Superseding Indictment

is substantively identical to the March 12, 2015 Indictment, except new Defendants were

added and the Defendants who pleaded guilty to crimes in the March 12, 2015 Indictment

were omitted. Defendant, Paula Jones (“Paula”), a former biller for Abide, is charged only

in Counts 1 and 2 of the Superseding Indictment.

        Count 1 charges Paula, among others, with conspiracy to commit health care fraud,

in violation of Title 18, United States Code, Section 1349.6 The Superseding Indictment

states that, beginning in or about November 1, 2008, and continuing until May of 2015, a

number of Defendants, including Paula, “willfully and knowingly did combine, conspire,

confederate and agree together and with each other to knowingly and willfully execute

and attempt to execute a scheme and artifice to defraud a health care benefit program

affecting commerce, as defined in Title 18, United States Code, Section 24(b), that is,

Medicare.”7 The Superseding Indictment represents that the purpose of the conspiracy

was “to cause the fraudulent certifications and recertifications of medically unnecessary

home health services for ineligible Medicare beneficiaries, the production of fraudulent

documentation to support medically unnecessary home health services, and the

submission and concealment of false and fraudulent claims to Medicare.”8 As part of the



4 R. Doc. 484.
5 When the Superseding Indictment was filed, several Defendants had pleaded guilty and, thus, were not

named in the Superseding Indictment. The Superseding Indictment charges only the following Defendants
with federal offenses: Henry Evans, Michael Jones, Shelton Barnes, Gregory Molden, Paula Jones,
Jonathon Nora, Suprenia Washington, Erica Edwards, Zellisha Dejean, Caren Battaglia, Sheila Hopkins,
Jeff Koon, Larry Taylor, and Verinese Sutton.
6 R. Doc. 484 at 1–13.
7 R. Doc. 484 at 9.
8 R. Doc. 484 at 9.


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alleged conspiracy, the Superseding Indictment states Abide hired Defendant, Dr.

Michael Jones, as a “House Doctor” to sign Plans of Care (“POCs”) for Medicare

beneficiaries “who had no legitimate medical necessity for home health services.”9 Dr.

Michael Jones is Paula’s husband and co-defendant, and the two are former Abide co-

workers.10 According to the Superseding Indictment, Dr. Jones “required Abide to almost

double the salary of his wife, Paula Jones, and to pay the salary of Larry Taylor, Michael

Jones’s driver/patient recruiter. The inflated salary payments to Paula Jones and the

driver/patient recruiter represented Michael Jones’s kickbacks for fraudulently certifying

POCs for Medicare beneficiaries.”11

        The manner and means of the conspiracy charged in Count 1, according to the

Government, is as follows. Abide recruiters, in one way or another, solicited individuals

to refer to Abide for home health services. The recruiters then contacted Abide’s office

manager, Jonathon Nora, to confirm the individual was in fact a Medicare beneficiary.

Once it was determined that the individual was a Medicare beneficiary, Nora “scheduled

a physician visit irrespective of medical necessity or homebound status, usually with an

Abide House Doctor, well knowing that the individual referred to Abide was by a marketer

instead of the beneficiary’s own health care professional.”12 The Superseding Indictment

states that, because the House Doctors routinely and fraudulently certified ineligible

Medicare beneficiaries for home health services, Abide employees were directed to “begin

home health services for Medicare beneficiaries regardless of whether a physician

certification, order, or face-to-face evaluation had been obtained.”13 After a House Doctor,


9 R. Doc. 484 at 10.
10 R. Doc. 484 at 8.
11 R. Doc. 484 at 10.
12 R. Doc. 484 at 10.
13 R. Doc. 484 at 10.


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such as Dr. Michael Jones, visited the beneficiary, Abide would then dispatch a registered

nurse to the beneficiary’s home “to complete the OASIS assessments that determined the

necessary level of care required for the beneficiary and the reimbursement rate for the

claims made by Abide.”14 “After OASIS assessments were completed, Case Managers at

Abide generated POCs reflecting falsely created assessments,” which were then given to

the House Doctors to “falsely certify/recertify medically unnecessary episodes of home

health.”15 After a House Doctor signed the beneficiary’s POC, licensed practical nurses

(LPN) working for Abide were assigned to the beneficiary. “Skilled nursing visits by the

LPNs were usually made once per week,” and the LPNs “routinely falsified documentation

of visits to support the ongoing fraudulent billing of unnecessary home health services by

Paula Jones and another biller on behalf of Abide.”16

        Count 2 charges Paula, among others, with conspiracy to pay and receive illegal

health care kickbacks, in violation of Title 18, United States Code, Section 371. 17 The

purpose of the conspiracy charged in Count 2, according to the Superseding Indictment,

was for Paula and others to “unlawfully enrich themselves by paying and receiving illegal

kickbacks and bribes, in the form of monthly payments disguised as compensation for

services performed as a Medical Director or Consultant, and salary payments to Paula

Jones and Larry Taylor by Abide, as instructed and required by Michael Jones, in

exchange for providing false, fraudulent, and medically unsupported documentation used

by Abide to submit fraudulent claims to Medicare.” 18 Count 2 states, in part, that in

exchange for its House Doctors, including Dr. Michael Jones, fraudulently signing home


14 R. Doc. 484 at 11.
15 R. Doc. 484 at 11.
16 R. Doc. 484 at 11.
17 R. Doc. 484 at 13–18.
18 R. Doc. 484 at 15.


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health POCs for Medicare beneficiaries so that Abide could submit false bills to Medicare,

Abide “fraudulently paid and caused payments to be made to [the doctors], including Dr.

Michael Jones, disguised as payments to Paula Jones and Taylor, his wife and

driver/patient recruiter, respectively.”19 Also, Count 2 states elsewhere that Paula and

another biller, as part of the underlying conspiracy, “fraudulently submitted billing to

Medicare on behalf of Abide for medically unnecessary home health services.”20 Count 2

represents that, between May 31, 2013, and March 25, 2014, Abide paid Paula Jones

bimonthly checks, the amounts of which were between “about $3,274 and $3,304.” 21

According to the Superseding Indictment, “[a]pproximately $35,000 of those payments

were compensation to Michael Jones for patient referrals he made to Abide disguised as

a raise in Paula Jones’ salary.”22

        Paula is not charged in any of Counts 3 through 30, each of which charges one or

more Defendants with the substantive crime of health care fraud, in violation of Title 18,

United States Code, Sections 1347 and 2. Neither is Paula charged in Count 31, which

charges only Defendant, Shelton Barnes, with obstruction of a federal audit, in violation

of Title 18, United States Code, Section 1516.

        On May 24, 2016, Paula filed a motion for severance pursuant to Federal Rules of

Criminal Procedure 8(b) and 14(a). First, Paula contends that, under Rule 8(b), Counts 1

and 2 are improperly joined with Counts 3 through 31. According to Paula, the facts that

underlie Counts 1 and 2 differ from those supporting Counts 3 through 31, and “there is

no substantial identity between the two sets of Counts.”23 Paula further argues there is


19 R. Doc. 484 at 15–16.
20 R. Doc. 484 at 16.
21 R. Doc. 484 at 18.
22 R. Doc. 484 at 18.
23 R. Doc. 551-1 at 7.


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“no identity of the participants” in Counts 1 and 2 as compared to Counts 3 through 31,

which also warrants a finding that the counts were joined improperly.24 In sum, Paula

contends “the facts, evidence, and participants of the crimes charged in Counts 1 – 2 differ

greatly from those relevant to the crimes charged in Counts 3 – 31.”25 According to Paula,

“[w]ith such a variance between the respective sets of counts, it is apparent that the

[c]ounts were improperly joined in the Indictment and should be severed.” 26

        Second, Paula argues that, even if the Court concludes Counts 1 and 2 are properly

joined with Counts 3 through 31, severance is warranted under Federal Rule of Criminal

Procedure 14(a).27 Paula argues under Rule 14(a) that she is entitled to severance “based

on the prejudice which is certain to arise from a joint trial with her co-defendants.”28

Paula’s argument is founded on her belief that she would be prejudiced by the “spillover

effect” that would result if she is tried alongside her co-defendants.29

        Paula also seeks, in the same motion, to strike Paragraph 38 from the Superseding

Indictment pursuant to Rule 7 of the Federal Rules of Criminal Procedure. Paula contends

the language in Paragraph 38 amounts to “surplusage” and is unduly prejudicial to her

defense. Paula points out that Paragraph 38 references a “$30 million dollar” scheme to

defraud Medicare, and argues her alleged role in the conspiracy is “miniscule” in

comparison. Paula contends the jury is likely, if it hears reference to a “$30 million dollar”

scheme, to conclude that the allegations against her are “plausible” and to convict her.

For these reasons, Paula asks the Court to strike Paragraph 38.30


24 R. Doc. 551-1 at 8.
25 R. Doc. 551-1 at 9.
26 R. Doc. 551-1 at 9.
27 R. Doc. 551-1 at 9.
28 R. Doc. 551-1 at 9.
29 R. Doc. 551-1 at 9–11.
30 R. Doc. 551-1 at 14–17.


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                                      LAW AND ANALYSIS

        The Court first addresses Paula’s motion for severance under Rules 8(b) and 14(a),

followed by an analysis of her request that Paragraph 38 of the Superseding Indictment

be stricken under Rule 7.

I.      JOINDER & SEVERANCE – RULES 8(b) & 14(a)

        Insofar as Paula’s motion for severance is concerned, the Court is confronted with

two separate issues. First, the Court must determine whether Counts 1 and 2 are properly

joined with Counts 3 through 31 under Federal Rule of Criminal Procedure 8. If so, the

next question is whether joinder, even if proper, is so prejudicial as to justify severance

under Rule 14. The Court addresses each question in turn, below.

             a. Joinder – Rule 8(b)

        When reviewing a motion to sever, the preliminary inquiry is whether joinder was

proper as a matter of law under Rule 8. 31 When, as in this case, an indictment charges

multiple defendants and multiple counts, Rule 8(b) governs the propriety of joinder.32

This rule allows joinder of defendants in the same indictment if they are alleged to have

participated “in the same series of acts or transactions . . . constituting an offense or

offenses.”33 Whether the counts charged fulfill this “same series” requirement is

determined by the facts in the indictment, which are accepted as true absent arguments

of prosecutorial misconduct.34 There is no requirement that each defendant have

participated in the same act(s),35 or each defendant be charged in the same count(s).36


31 See United States v. Holloway, 1 F.3d 307, 310 (5th Cir. 1993).
32 United States v. Kaufman, 858 F.2d 994, 1003 (5th Cir. 1998).
33 FED. R. CRIM. P. 8(b).
34 See United States v. McRae, 702 F.3d 806, 820 (5th Cir. 2012); United States v. Faulkner, 17 F.3d 745,

758 (5th Cir. 1994). No Defendants have made arguments of prosecutorial misconduct.
35 McRae, 702 F.3d at 820.
36 FED. R. CRIM. P. 8(b).


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Rather, Rule 8 is “flexible” and broadly construed in favor of joinder.37 The dispositive

inquiry is whether the indictment charges “a series of acts unified by some substantial

identity of facts or participants.”38 This link is usually satisfied when an indictment alleges

an overarching conspiracy that encompasses the substantive offenses charged.39 “It is well

settled that a charge of conspiracy initially legitimizes joinder of all defendants, as the

conspiracy charge provides a ‘common link’ and demonstrates that the charges arise from

or ‘grow out of’ the same acts or transactions.”40 Even separate conspiracies with different

memberships are properly joined if the conspiracies are part of the same series of acts or

transactions.41

        Paula argues Counts 1 and 2 are not properly joined with Counts 3 through 31. In

support, Paula contends the facts and evidence that underlie the charges against her in

Counts 1 and 2 are “generally unrelated and almost entirely distinct” from the facts and

evidence that support Counts 3 through 31, counts in which she is not charged. According

to Paula, the Government’s evidence against her on Counts 1 and 2 will “center around (1)

her duties and responsibilities as a biller for Abide, (2) her experience, qualifications, and

educational and professional background (for the purpose of determining the

reasonableness of her salary), (3) her knowledge, if any, of the alleged acts of her co-



37 United States v. Butler, 429 F.3d 140, 146 (5th Cir. 2005). See also United States v. Bullock, 71 F.3d 171,

174 (5th Cir. 1995) (“Joinder of charges is the rule rather than the exception and Rule 8 is construed liberally
in favor of initial joinder.”).
38 See McRae, 702 F.3d at 821 (quoting United States v. Dennis, 645 F.2d 517, 520 (5th Cir. 1981)).
39 See United States v. Lane, 735 F.2d 799, 805 (5th Cir. 1984) (“Proof of a common scheme is typically

supplied by an overarching conspiracy from which stems each of the substantive counts.”); see also United
States v. Krout, 66 F.3d 1420, 1429 (5th Cir. 1995); United States v. Ellender, 947 F.2d 748, 754 (“Joinder
of defendants is particularly appropriate when conspiracy is one of the charges.”); United States v. Hundley,
No. S3-02-CR441, 2003 WL 21537774, at *2 (S.D.N.Y. July 7, 2013) (“[T]he indictment can also be read as
alleging that these defendants were engaged in a broad scheme to enrich themselves and their associates by
any fraudulent means required.”).
40 United States v. Potashnik, No. 3:07-CR-289-M, 2008 WL 5272807, at *5 (N.D. Tex. Dec. 17, 2008)

(citations omitted).
41 See United States v. Harrelson, 754 F.2d 1153, 1176–77 (5th Cir. 1985).


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defendants (for the purpose of determining criminal intent), and (4) the billing practices

of Abide.”42 Paula avers, however, that the Government’s evidence with respect to Counts

3 through 31 is different and will “specifically address the handling and ‘treatment’ of

certain specified and unspecified patients, most of which are completely unrelated to

Paula Jones.”43 Paula also argues that joinder is improper because “[t]here is no identity

of the participants in Counts 3 – 31 and Counts 1 – 2.”44 According to Paula, the

“individual patients listed in Counts 3 – 31 are not identified in the health care fraud

conspiracies set forth in Counts 1 – 2.” Further, Paula argues, “although the identity of

some of the participants may be overlapping, the extent to which the government’s case

in Counts 3 – 31 will involve individuals other than those identified in Counts 1 – 2

requires a finding that the counts were improperly joined.”45

        The Court disagrees with Paula and finds the joinder of Counts 1 and 2 with Counts

3 through 31 to be proper under Rule 8(b).

        This case, at its core, is about a conspiracy to defraud Medicare. Count 1 charges

Paula, among others, with conspiracy to commit health care fraud, in violation of Title 18,

United States Code, Section 1349. According to the Superseding Indictment, which the

Court accepts as true in assessing the propriety of joinder,46 the purpose of the conspiracy


42 R. Doc. 551-1 at 7–8.
43 R. Doc. 551-1 at 8. Specifically, Paula argues this evidence will focus on (1) the policies and procedures

utilized to recruit those patients (not relevant to the charges against Paula Jones), (2) the policies and
procedures for certifying certain specified and unspecified patients as eligible Medicare home health care
benefi[ciaries] (the Indictment does not allege that this is a task in which Paula Jones was involved, (3) the
procedures utilized by doctors and nurses at Abide for determining an appropriate plan of care (POC) for
the specified individual patients (the Indictment does not allege that this is a task in which Paula Jones was
involved), (4) the medical status and legitimate medical needs of certain specified and unspecified
individual patients (the Indictment does not allege that this is a task in which Paula Jones was involved),
(5) the propriety of the POC and medical procedures recommended for those patients (again, not a task in
which Paula Jones was involved), and (6) the nature and extent of the actual medical care rendered to each
patient (again, not a task in which Paula Jones was involved). R. Doc. 551-1 at 8.
44 R. Doc. 551-1 at 8.
45 R. Doc. 551-1 at 8–9.
46 See McRae, 702 F.3d at 820; Faulkner, 17 F.3d at 758. There is no allegation of prosecutorial misconduct.


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was “to cause the fraudulent certifications and recertifications of medically unnecessary

home health services for ineligible Medicare beneficiaries, the production of fraudulent

documentation to support medically unnecessary home health services, and the

submission and concealment of false and fraudulent claims to Medicare.”47 Count 2

charges Paula, among others, with conspiracy to pay and receive illegal health care

kickbacks, in violation of Title 18, United States Code, Section 371. The purpose of the

conspiracy charged in Count 2, according to the Superseding Indictment, was for Paula

and others to “unlawfully enrich themselves by paying and receiving illegal kickbacks and

bribes, in the form of monthly payments disguised as compensation for services

performed as a Medical Director or Consultant, and salary payments to Paula Jones and

Larry Taylor by Abide, as instructed and required by Michael Jones, in exchange for

providing false, fraudulent, and medically unsupported documentation used by Abide to

submit fraudulent claims to Medicare.”48 Counts 3 through 30 charge individual acts of

health care fraud, in violation of Title 18, United States Code, Sections 1347 and 2. 49 The

Superseding Indictment makes clear that Counts 3 through 30 charge substantive health

care fraud violations, all of which occurred as part of the overall conspiracy to defraud

Medicare.50

        Although charged separately, the conspiracies alleged in Counts 1 and 2, and the

substantive violations alleged in Counts 3 through 31, are part of a single plan or scheme:

i.e., the defrauding of Medicare, a federal health care benefit program. Paula worked as a

biller for Abide, and the Government alleges that, as part and parcel of the conspiracies


47 R. Doc. 484 at 9.
48 R. Doc. 484 at 15.
49 Count 31 charges only Defendant, Shelton Barnes, with obstruction of a federal audit, in violation of Title

18, United States Code, Section 1516.
50 See R. Doc. 484 at 19.


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charged in Counts 1 and 2, Paula submitted “false claims to Medicare which were based

upon fraudulent certifications.”51 The Superseding Indictment makes clear that Paula

played an integral part in and helped effectuate the purposes of the conspiracies charged

in Counts 1 and 2, conspiracies from which the substantive violations alleged in Counts 3

through 31 arise. Although Paula is not charged with any of the substantive violations

alleged in Counts 3 through 31, there is no requirement that a defendant be charged in

every count, or even most of them, for joinder to be proper. “It is well settled that joinder

under Rule 8(b) is proper where an indictment charges multiple defendants with

participation in a single conspiracy and also charges some but not all of the defendants

with substantive counts arising out of the conspiracy.”52 In addition, although not charged

in Counts 3 through 31, Paula is mentioned in the section of the Superseding Indictment

in which the facts supporting Counts 3 through 31 are alleged.53

        Also, the Court notes that, contrary to Paula’s arguments,54 much of the evidence

that must be adduced to establish her guilt with respect to the conspiracies alleged in

Counts 1 and 2 will be relevant to proving the substantive violations alleged in Counts 3

through 31. The Government argues,55 and the Court finds it to be likely, that the evidence

offered at trial will include the testimony of witnesses who have knowledge of both the

overarching schemes to defraud Medicare alleged in Counts 1 and 2 and the substantive

health care fraud violations alleged in Counts 3 through 31. In a similar vein, Paula’s



51 R. Doc. 574 at 3.
52 Potashnik, 2008 WL 5272807, at *5 n.18 (internal quotation marks omitted) (citing United States v.

Elam, 678 F.2d 1234, 1247 (5th Cir. 1982), and quoting United States v. Phillips, 664 F.2d 971, 1016 (5th
Cir. 1981)).
53 R. Doc. 484 at 34. See also United States v. Jones, 303 F.R.D. 279, 283–85 (E.D. La. 2014) (“Moreover,

those not specifically charged in Count 1, i.e., the non-RICO Defendants, are each referenced by name in
the overt acts section of Count 1 at least once.”).
54 R. Doc. 551-1 at 8–9.
55 R. Doc. 574 at 8–9.


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argument that joinder is improper because the patients identified in Counts 3 through 31

are not listed in Counts 1 and 2 also fails. The patients listed in Counts 3 through 31 are

examples of individuals for whom Paula and her co-defendants allegedly fraudulently

recommended and approved home health services, which services were subsequently

billed to Medicare. Stated differently, Counts 3 through 31 are concrete examples of

instances in which Paula and her co-workers carried out their conspiracy to defraud

Medicare. That the specific patients identified in Counts 3 through 31 may not be listed in

extenso in Counts 1 and 2 is inapposite. Because the Government alleges a health care

fraud conspiracy, perpetuated through a “culture of fraud” at Abide, it is likely the patients

listed in Counts 3 through 31, if called as witnesses, will offer testimony relevant to

establishing Counts 1 and 2 and Paula’s innocence or guilt thereof.

        With respect to the identity of the “participants,” Paula concedes the participants

charged in Counts 3 through 31 may overlap with the participants charged in Counts 1

and 2, but argues “the extent to which the government’s case in Counts 3 – 31 will involve

individuals other than those identified in Counts 1 – 2 requires a finding that the counts

were improperly joined.”56 The Court disagrees. The participants who are charged in the

conspiracies alleged in Counts 1 and 2 overlap substantially with the participants charged

in Counts 3 through 31, which is sufficient to justify joinder. In fact, although Paula is not

charged in Counts 3 through 31, the Defendants charged in Counts 3 through 31 are also

charged, without exception, in either Count 1, Count 2, or both Counts 1 and 2.57 The

identity of the participants, as a whole, warrants joinder.58


56 R. Doc. 551-1 at 8–9.
57 Stated differently, each Defendant charged in any of Counts 3 through 31 is also charged in either Count

1, Count 2, or both Counts 1 and 2.
58 See, e.g., Jones, 303 F.R.D. at 283–85 (finding joinder proper where each defendant is charged in some,

but not all, of the counts in the indictment).

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         In summary, the Court concludes the Superseding Indictment charges a series of

acts unified by a substantial identity of facts and participants. Counts 1 and 2 and Counts

3 through 31 comprise the same series of acts and transactions constituting the offenses

charged in the Superseding Indictment. As a result, the Court finds that the counts alleged

in the Superseding Indictment, and the Defendants charged in those counts, including

Paula, are properly joined under Rule 8 of the Federal Rules of Criminal Procedure.

            b. Severance – Rule 14(a)

        Having concluded that Counts 1 and 2 are properly joined with Counts 3 through

31, the Court now considers whether severance is nevertheless warranted under Rule 14.

Even if joinder is proper under Rule 8, Rule 14 affords the district court broad discretion

to order severance if a joint trial would result in undue prejudice. 59 A defendant seeking

severance under Rule 14(a) must overcome “significant obstacles.”60 Generally, persons

indicted together should be tried together,61 especially in conspiracy cases.62 In fact, there

is a well-recognized preference in the federal system for joint trials of defendants who are

indicted together,63 and this preference particularly holds true in conspiracy cases.64

        Neither a quantitative disparity in the evidence nor the presence of a spillover

effect requires severance.65 A carefully tailored jury instruction will normally cure any risk

of prejudice.66 To the extent limiting instructions cannot eliminate that risk, the district


59 See United States v. Welch, 656 F.2d 1039, 1053 (5th Cir. 1981); FED. R. CRIM. P. 14.
60 McRae, 702 F.3d at 821.
61 United States v. Rocha, 916 F.2d 219, 227–28 (5th Cir. 1990).
62 United States v. Pofahl, 990 F.2d 1456, 1483 (5th Cir. 1993) (“The rule, rather than the exception, is that

persons indicted together should be tried together, especially in conspiracy cases.”).
63 Zafiro v. United States, 506 U.S. 534 (1993). See also McRae, 702 F.3d at 821 (quoting Zafiro, supra)

(“The federal judicial system evinces a preference for joint trials of defendants who are indicted together
because joint trials ‘promote efficiency and serve the interests of justice by avoiding the scandal and inequity
of inconsistent verdicts.’”).
64 United States v. Stalmaker, 571 F.3d 428, 434 (5th Cir. 2009).
65 Krout, 66 F.3d at 1430.
66 Zafiro, 506 U.S. at 539.


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court must consider whether any remaining prejudice outweighs the interests of judicial

economy.67 When defendants are properly joined under Rule 8, “a district court should

grant a severance under Rule 14(a) only if there is a serious risk that a joint trial would

compromise a specific trial right of one of the defendants, or prevent the jury from making

a reliable judgment about guilt or innocence.”68

         Paula contends she is entitled to severance pursuant to Rule 14(a) “based on the

prejudice which is certain to arise from a joint trial with her co-defendants.”69 According

to Paula, “the spillover effect from the anticipated cumulative evidence and testimony will

overwhelm the jury in its consideration of the simple issue with which it will be faced in

determining a verdict on the charges against Paula Jones – more specifically, a verdict on

Counts 1 and 2.”70 In support of her spillover-effect argument, Paula represents that her

involvement in Counts 1 and 2 is “minimal” and is “limited to the execution of her duties

as a billing supervisor for Abide and her receipt of a paycheck for the work that she

performed in that capacity.”71 Paula also points to the method by which the Government

alleges she received kickbacks, arguing it is different from any of her co-defendants.72

Specifically, Paula underscores the Government’s position that the kickbacks she received

came in the form of an inflated salary, which was also “the vehicle through which Mr.

Jones was paid his kickback.”73 Paula concedes the distinction is “discrete,” but argues it

is significant, “as jury confusion is likely to arise[] if Ms. Jones is tried with the other co-




67 See McRae, 702 F.3d at 821–22.
68 Zafiro, 506 U.S. at 539.
69 R. Doc. 551-1 at 9.
70 R. Doc. 551-1 at 11.
71 R. Doc. 551-1 at 11.
72 R. Doc. 551-1 at 13.
73 R. Doc. 551-1 at 13.


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defendants.”74 Paula also points to the Government’s plan to use statistical experts to

prove a “massive” health care fraud conspiracy, arguing such experts are not needed with

respect to the charges against her and, in fact, would prejudice her ability to defend

herself.75

        Having considered Paula’s arguments, the Court finds severance under Rule 14(a)

is not warranted in this case. Any prejudice that Paula sustains from a joint trial with her

co-defendants will be minimal. Paula’s arguments in support of severance substantially

minimize her role in the conspiracies charged in Counts 1 and 2. According to Paula, the

Government’s case against her is based solely on her marriage to Dr. Michael Jones, a co-

defendant, and the kickbacks she allegedly received being different, and less indicative of

criminal intent, than those received by other defendants. Even if true, it is well accepted

that a quantitative disparity in the evidence against a particular defendant is not sufficient

grounds to justify severance. Paula worked as a biller for Abide and, according to the

Government, processed a number fraudulent bills and submitted them to Medicare. The

Government contends the “culture of fraud” at Abide was so severe that employees, like

Paula, knew or should have known that their activities were part of a conspiracy to

defraud Medicare.76 Regardless of how the fraud was carried out, or the quantitative value

of the evidence implicating Paula in the fraud, Paula’s role in the conspiracies, as alleged

in the Superseding Indictment, is not so different or less culpable as compared to the

other defendants such that a joint trial would result in prejudicial spillover.

        Even if Paula is prejudiced by any spillover effect from a joint trial, spillover in and

of itself does not justify severance under Rule 14(a). In a case in which prejudice is likely


74 R. Doc. 551-1 at 13.
75 R. Doc. 551-1 at 13–14.
76 R. Doc. 574 at 9.


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to result, the Court must consider whether the prejudice can be remedied with a carefully

tailored jury instruction. In this case, the Court finds that such a jury instruction will

remedy any spillover-effect prejudice. Even if a jury instruction were insufficient to

remedy any prejudice to Paula, the Court finds the prejudice would not outweigh the well-

accepted preference that defendants indicted together be tried together or the interest of

judicial economy served by holding a joint trial.

         Under Rule 14, a defendant bears a “heavy burden” to show prejudice sufficient to

warrant severance.77 Paula has not met her burden. In summary, the Court finds that

severance under Rule 14(a) is not warranted in this case, and Paula’s motion for severance

must be denied.

II.      MOTION TO STRIKE PARAGRAPH 38 – RULE 7

         Paula moves to strike Paragraph 38 from the Superseding Indictment. Paragraph

38 reads:

         From about January 1, 2009, through on or about October 1, 2014, Abide
         fraudulently billed Medicare approximately $22,578,454.75 for home
         health services Abide falsely claimed to have provided to eligible Medicare
         beneficiaries, and Medicare paid Abide approximately $30,052,264.82.78

Paula contends, “[w]hile this language might be applicable to the plea by Lisa Crinel, and

may be relevant to some type of cross-examination setting, it is surplus language as to all

doctors, and also to individual defendants such as Paula Jones.”79 According to Paula, “if

there is such a ‘$30 million dollar’ scheme to defraud, it would be the responsibility of the

key government witness. The government has deleted Lisa Crinel from the Indictment,


77 United States v. Macias, No. 4:08-CR-098-Y, 2009 WL 508719, at *1 (N.D. Tex. Mar. 2, 2009) (citing

United States v. Herring, 602 F.2d 1220, 1225 (5th Cir. 1979); United States v. Bright, 630 F.2d 804, 813
(5th Cir. 1980) (“[A] showing of compelling prejudice is required before a trial court’s ruling [denying
severance] under Rule 14 will be overturned.”) (emphasis added)).
78 R. Doc. 484 at 11.
79 R. Doc. 551-1 at 14.


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while at the same time leaving the language of the $30 million dollar fraud to taint the

jury’s initial perception of the remaining defendants.”80 For these reasons, Paula asks the

Court to strike Paragraph 38 as prejudicial surplusage.81

        In response, the Government argues Paragraph 38 of the Superseding Indictment

should not be stricken because it “serves as a factual backdrop and part of the

government’s proof as to the harm that all of the defendants caused as a result of their

role in the conspiracy to defraud Medicare.”82 The Government also contends Paragraph

38 is “relevant to the intent of the parties because it demonstrates how lucrative health

care fraud is. Abide and the co-conspirators, including Paula Jones and the House

Doctors, had a strong motive to commit fraud against Medicare because of the hefty

payoff for Abide and the defendants.”83

        Federal Rule of Criminal Procedure 7(d) provides: “Upon the defendant’s motion,

the court may strike surplusage from the indictment or information.” Rule 7(d) provides

“a means of protecting the defendant against immaterial or irrelevant allegations in an

indictment or information, which may, however, be prejudicial.”84 “Surplusage, therefore,

essentially refers to immaterial or irrelevant allegations tending to be prejudicial or

inflammatory.”85

        “A district court retains discretion to strike surplusage from an indictment upon

motion of the defendant under Rule 7(d).”86 Overall, “[t]he level of proof required to strike



80 R. Doc. 551-1 at 15.
81 R. Doc. 551-1 at 14–16.
82 R. Doc. 574 at 16.
83 R. Doc. 574 at 16.
84 FED. R. CRIM. P. 7(d), advisory committee’s note. See generally 1 Charles A. Wright, Federal Practice and

Procedure § 127 (1982 & Supp. 1992) (discussing Rule 7(d)).
85 United States v. Rush, No. 92-218, 1992 WL 211621, at *1 (E.D. La. Aug. 19, 1992) (citing United States

v. Wylie, 919 F.2d 969, 973 (5th Cir. 1990); United States v. Hughes, 766 F.2d 875, 879 (5th Cir 1985)).
86 United States v. Prejean, 429 F. Supp. 2d 782, 796 (E.D. La. 2006).


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surplusage from an indictment is ‘exacting.’”87 The Fifth Circuit has specifically held that

surplusage should only be stricken from the indictment if it is “irrelevant, inflammatory

and prejudicial.”88 A district court may strike language as surplusage on the ground that

such material is unduly prejudicial if the language “serve[s] only to inflame the jury,

confuse[s] the issues, and blur[s] the elements necessary for conviction.” 89 “While the

challenged language must be ‘irrelevant, inflammatory, and prejudicial’ in order to be

stricken, if the allegation is admissible and relevant to the charge, then regardless of how

prejudicial, the court should not strike the language.”90 Also, “surplusage in an indictment

may generally be disregarded where the charge is not materially broadened and the

accused is not misled.”91

        In this case, the Court finds that Paragraph 38 of the Superseding Indictment is

relevant to the allegations in Counts 1 and 2 and, specifically, the intent of the Defendants,

including Paula Jones, in carrying out the conspiracies charged therein. For that reason,

the Court will not strike Paragraph 38. Counts 1 and 2 charge Paula, among others, with

conspiracies to commit health care fraud and to pay and receive illegal health care

kickbacks, respectively. It is the Government’s position that the conspiracies were multi-

million dollar schemes through which Paula and her co-defendants defrauded Medicare

to the tune of roughly $30 million dollars.92 Paragraph 38 of the Superseding Indictment


87 Id. (quoting United States v. Bullock, 451 F.2d 884, 888 (5th Cir. 1971)).
88 Bullock, 451 F.2d at 888. See also United States v. Alexander, No. 06-60074-01, 2008 WL 2130185, at

*2 (W.D. La. May 18, 2008); Prejean, 429 F. Supp. 2d at 796.
89 Prejean, 429 F. Supp. 2d at 796 (citing Bullock, 451 F.2d at 888).
90 United States v. Reece, No. 12-00146, 2013 WL 3327884, at *2 (W.D. La. July 1, 2013) (citing United

States v. Graves, 5 F.3d 1546, 1550 (5th Cir. 1993); United States v. Scarpa, 913 F.2d 993, 1013 (5th Cir.
1990); United States v. Edwards, 72 F. Supp. 2d 664, 667 (M.D. La. 1990)). See also United States v.
Palazzo, No. 05-0266, 2007 WL 3124697, at *10 (E.D. La. Oct. 24, 2007), rev’d and remanded on other
grounds, 558 F.3d 400 (5th Cir. 2009). “[L]anguage which is inflammatory and prejudicial, but which is
nevertheless relevant and admissible, should not be stricken.” Alexander, 2008 WL 2130185, at *3.
91 Reece, 2013 WL 3327884, at *2. (internal quotations and citations omitted).
92 See R. Doc. 574 at 16–17.


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provides an overview of the extent and magnitude of the conspiracies alleged in Counts 1

and 2 and evinces how lucrative those conspiracies actually were.

         Paula directs the Court to Judge Fallon’s decision in United States v. Reed, No. 15-

100, 2016 WL 54903 (E.D. La. Jan. 5, 2016), in which the court struck language from the

indictment under Rule 7(d). Reed, however, is distinguishable from this case. In Reed, the

court concluded that certain paragraphs in the indictment were “prejudicial surplusage

unrelated to the offenses with which Walter Reed [was] charged.”93 Specifically, the court

found that, in effect, the paragraphs-at-issue alleged offenses that were not charged in the

indictment and, for that reason, provided “extraneous information” that was not relevant

to the charges actually alleged against Walter Reed.94 The court concluded the paragraphs

were “prejudicial and confusing as they create[d] the perception of additional charges and

victims.”95 In this case, Paragraph 38 does not create such a perception, nor does it allege

additional charges against Paula beyond what she is charged with in Counts 1 and 2. The

language in Paragraph 38 is not extraneous information but is information relevant to the

scope and magnitude of the conspiracies with which Paula is charged in Counts 1 and 2.

         In summary, any prejudice to Paula that stems from Paragraph 38 does not

warrant its striking. Paragraph 38 is relevant to issues that remain in dispute in this case.

For that reason, Paula’s motion to strike must be denied.

                                         CONCLUSION

         For the foregoing reasons, IT IS ORDERED that Paula’s motion for severance

pursuant to Federal Rules of Criminal Procedure 8(b) and 14(a) and to strike Paragraph

38 from the Superseding Indictment pursuant to Rule 7 is DENIED.


93 Reed, 2016 WL 54903, at *2 (emphasis added).
94 Id.
95 Id.


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   New Orleans, Louisiana, this 18th day of July, 2016.


                                ____________ _______ _______
                                        SUSIE MORGAN
                                UNITED STATES DISTRICT JUDGE




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